                                 IN THE UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF TENNESSEE
                                             AT NASHVILLE

ALERT SECURITY & PATROL, LLC d/b/a ASPI,                    )
                                                            )
         Plaintiff,                                         )
                                                            )
v.                                                          )      Case No: 3:09cv785
                                                            )
EPANDCO HOLDINGS, LLC, and                                  )      Judge Trauger
NATIONWIDE MUTUAL INSURANCE COMPANY,                        )      Magistrate Judge Brown
                                                            )
         Defendants.                                        )      JURY DEMAND


                                     STIPULATION OF SETTLEMENT


         The parties, jointly, stipulate and notify the Court that this case has been fully

settled and resolved and should be dismissed with prejudice, with each party to bear

their own discretionary costs in this matter. The parties submit a proposed Order of

Dismissal, approved by the parties for the Court’s consideration.


                                               Respectfully submitted,



                                               s/Michael G. Hoskins
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N Alert Stip Settlement 100128
     Case 3:09-cv-00785 Document 25 Filed 02/04/10 Page 1 of 3 PageID #: 107
                                     s/Robert J. Hill, II
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N Alert Stip Settlement 100128        2
     Case 3:09-cv-00785 Document 25 Filed 02/04/10 Page 2 of 3 PageID #: 108
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of February, 2010, a copy of the foregoing
STIPULATION OF SETTLEMENT was filed electronically. Notice of this filing will be
sent by operation of the Court’s electronic filing system to all parties indicated on the
electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties
may access this filing through the Court’s electronic filing system.


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N Alert Stip Settlement 100128        3
     Case 3:09-cv-00785 Document 25 Filed 02/04/10 Page 3 of 3 PageID #: 109
